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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )              Case No. 8:11CR421
                     Plaintiff,                 )
                                                )
       vs.                                      )
                                                )                    ORDER
LUCAS D. BASHORE,                               )
                                                )
                     Defendant.                 )


       This case is before the court on the defendant Lucas D. Bashore's Motion for A
Chemical Dependency Evaluation (#33). The defendant moves the court for an order
directing Pretrial Services to obtain a chemical dependency evaluation of defendant,
alleging he is experiencing emotional problems associated with chemical dependency. The
defendant is currently in custody for the reasons set out in the December 22, 2011
Detention Order (#16).
       After reviewing the motion and the defendant's December 22, 2011 Pretrial Services
report, I find the motion should be denied. A review of the defendant's previous health
history as set out in the Pretrial Services report shows the defendant completed a 28-day
inpatient treatment program while involved with the Drug Court in 2003, and completed the
Nebraska Department of Corrections' eight-month treatment program while incarcerated
for his second felony drug conviction. As the defendant had two prior opportunities to deal
with his admitted chemical dependency, I find that given his prior criminal record, substance
abuse history, and failed treatments, he has failed to rebut the presumption of detention
under 18 U.S.C. § 3142(e).
       IT IS ORDERED that defendant's Motion for A Chemical Dependency Evaluation
(#33) is denied without hearing.
       Dated this 31st day of January, 2012.
                                             BY THE COURT:


                                             s/ F.A. Gossett, III
                                             United States Magistrate Judge
